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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                              NORTHERN DIVISION
                                  (at Covington)

 TIMOTHY GREGG,                               )
                                              )
         Plaintiff,                           )          Civil Action No. 2: 24-134-DCR
                                              )
 V.                                           )
                                              )
 ST. ELIZABETH                                )               SCHEDULING ORDER
 MEDICAL CENTER, INC.,                        )
                                              )
        Defendant.                            )

                                  ***   ***       ***   ***

       Having reviewed the parties’ Joint Response to Show Cause and Status Report [Record

No. 19], it is hereby

       ORDERED that the Show Cause Order [Record No. 18] is SET ASIDE.

       Dated: January 14, 2025.




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